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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                ELKINS DIVISION

TRIPLE R RANCH, LLC and                              §
ERIC HEDRICK,                                        §
                                                     §
       Plaintiffs,                                   §
                                                     §      CA No. 2:18-cv-109 (Bailey)
vs.                                                  §
                                                     §
PILGRIM’S PRIDE CORPORATION                          §
                                                     §
       Defendant                                     §

DEFENDANT’S MOTION TO ENTER PROTECTIVE ORDER & MEMORANDUM IN
  OPPOSITION TO PLAINTIFFS’ MOTION TO ENTER PROTECTIVE ORDER

       Subject to its Motion to Dismiss and Motion to Stay of Discovery Pending Resolution of

Its Motion to Dismiss (ECF 19, 19-5, 27, & 30), Defendant Pilgrim’s Pride Corporation

(“Pilgrim’s”) files this Motion to Enter Protective Order & Memorandum in Opposition to

Plaintiffs’ Motion to Enter Protective Order (ECF 29), and states as follows:

       1.      The parties do not dispute that the Court should enter a protective order to protect

the parties’ exchange of proprietary and confidential information and trade secrets during the

discovery process. The question for the Court is which competing protective order should be

entered.

       2.      Pilgrim’s proposed protective order attached hereto as Exhibit A (“Protective

Order”) mirrors the protective order entered by this Court in M&M Poultry, Inc. v. Pilgrim’s Pride

Corp., 2:15-cv-00032-JPB (ECF 55 & 56.) The protective order in M&M Poultry was negotiated

and agreed to by members of Plaintiffs’ current counsel, J. Dudley Butler and Keith Lively, and

members of Pilgrim’s current counsel, Clayton Bailey and Benjamin Stewart. There can be no

dispute that the protective order used in M&M Poultry worked well and the parties never raised a



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dispute relating to its requirements or their performance thereunder.          It also expedited the

production of discovery from third-parties, such as M&M Poultry’s banker who provided highly

confidential information relating to M&M Poultry’s loans and finances that were admitted during

the bench trial and relied on by the Court in entering its findings of facts and conclusions of law.

See M&M Poultry, Inc. v. Pilgrim’s Pride Corp., 281 F. Supp. 3d 610, 616 & 621 (N.D. W.Va.

2017). Further, the protective order in M&M Poultry successfully balanced the public’s interests

in a transparent judicial process while also minimizing any harm to a producing party from the

disclosure of confidential and proprietary information and trade secrets during the discovery

process.

       3.      Accordingly, Pilgrim’s requests the Court to enter the proposed Protective Order

submitted by Pilgrim’s.

       4.      The hang-up with the parties in this case presenting a proposed agreed protective

order as in M&M Poultry stems from the appearance of Plaintiffs’ new additional counsel—the

Government Accountability Project, Inc. (“GAP”), a Washington D.C. based non-profit entity

organized to, among other things, disseminate information GAP believes is within the public

interest. According to GAP, the “overarching problem” with Pilgrim’s proposed Protective Order

is that it “errs to far on the side of suppressing information.”

       5.      Based on recent public information, what really appears to be going on is that GAP

wants to use this case to divulge information to harm Pilgrim’s. During an interview of GAP

attorney Amanda Hitt regarding this case on Heritage Radio Network, which aired on January 14,

2019, Ms. Hitt stated GAP is funding Plaintiffs’ prosecution of this lawsuit.1 Ms. Hitt also



1
        https://player.fm/series/what-doesnt-kill-you-1402026/episode-274-poultry-grower-eric-hedrick-
gets-his-day-in-court at approximately 14:20-16:24.


                                                   2
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described herself as a “rebel” who is “angry at everybody” and an “activist type” who is “stealing

fire from the Gods” and “bringing inside information” and giving it “to the masses.”2 Furthermore,

in discussing allegations in paragraph 43 of the Complaint,3 attorney Hitt recklessly and falsely

asserted Pilgrim’s injects fecal water into the broilers raised in the Moorefield, West Virginia

complex4 where Triple R previously operated before Triple R terminated its Broiler Production

Agreement with Pilgrim’s on October 3, 2016, and instructed Pilgrim’s to cease delivering chicks

to its poultry houses. (ECF 19-2.)

        6.      Because of GAP’s and its counsel’s agendas, Plaintiffs object to using the same protective

order as used in M&M Poultry because they want to disseminate information obtained in this case

to others. Consequently, Plaintiffs, filed a competing proposed protective order on Monday,

March 25, 2019. (See ECF 29.)

        7.      Wrapping themselves in the flag, Plaintiffs argue their proposed protective order is

more consistent with the First Amendment’s interest in the public’s right to access to court records.

(See ECF 29 at 2.) But Plaintiffs fail to acknowledge that the presumption of the public’s right to

court records can be rebutted if countervailing interests heavily outweigh the public interests in

access. Virginia Dep’t of State Police v. Washington Post, 386 F.3d 567, 575 (4th Cir. 2004).




2
        Id. at approximately 32:50 through 33:50.

3
         Paragraph 43 states, “In 2014, PPC dictated to Plaintiffs that PPC had decided to reduce the weight
of the chickens Plaintiffs were required to grow from 4 pound birds to 3.75 birds. PPC told Hedrick that it
had decided to have him grow a lighter bird. PPC was in a position to earn the same revenues for the lighter
birds because, on information and belief, PPC could add back the 0.40 difference in weight through water
weight added to the bird, while Plaintiffs Hedrick and Triple R would receive lower pay for the lighter
birds.” (ECF 1 ¶ 43.)
4
         https://player.fm/series/what-doesnt-kill-you-1402026/episode-274-poultry-grower-eric-hedrick-
gets-his-day-in-court at approximately 28:20 through 30:00. In fact, if the Court listens to attorney Hitt’s
interview, the Court will discover that Ms. Hitt uses far more outrageous language to describe the water she
falsely accuses Pilgrim’s of purportedly injecting into the poultry in order to “fatten the birds.”

                                                     3
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Some of the factors to weigh include whether the records are sought for improper purposes, such

as promoting public scandals or unfairly gaining a business advantage. Id. (internal citation

omitted). Furthermore, Plaintiffs ignore that the “Supreme Court has held that ‘where ... a

protective order is entered on a showing of good cause as required by Rule 26(c), is limited to the

context of pretrial civil discovery, and does not restrict the dissemination of the information if

gained from other sources, it does not offend the First Amendment.’” Springs v. Ally Fin. Inc., 684

F. App’x. 336, 337 (4th Cir. 2017), cert. denied, 138 S. Ct. 221, 199 L. Ed. 2d 119 (2017) (quoting

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 37(1984)).

        8.     There is no dispute between the parties that good cause exists for the entry of a

protective order in this case. Indeed, Plaintiffs previously tendered a proposed protective order for

the Court’s consideration. (ECF 29-1 (“Disclosure and discovery activity in this action may

involve production of confidential, proprietary, or private information for which special protection

from public disclosure may be warranted.”).)

        9.     There are numerous flaws with Plaintiffs’ proposed protective order, which would

take substantial time to address in this Motion. Consequently, for purposes of brevity, the

following graph highlights only some of the major flaws in Plaintiffs’ proposed protective order.

The following graph also explains why Pilgrim’s proposed Protective Order should be entered in

this case:




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    Problems with Plaintiffs’ proposed              Why Pilgrim’s proposed Protective Order
       protective order (ECF 29-1)                         (Ex. A) should be entered

a. Plaintiffs’ proposed protective order does       a. Pilgrim’s proposed Protective Order

not provide for materials to be designated as       affords the parties the right to designate

“Confidential” or “Attorney’s Eyes Only.”           information as either “Confidential” or

(See generally ECF 29-1.)                           “Attorney’s Eyes Only.” (Ex. A, pp. 2-5, §§

                                                    2-5.) By providing for materials to be

                                                    designated as “Attorney’s Eyes Only,”

                                                    Pilgrim’s sensitive information will be

                                                    afforded heightened protection, particularly in

                                                    this case where Plaintiffs are complaining

                                                    about inputs they received from Pilgrim’s,

                                                    such as feed that necessarily involves

                                                    Pilgrim’s feed ingredients. (See, e.g., ECF 1

                                                    at ¶¶ 57-59.) Pilgrim’s contends that the

                                                    ingredients used in its feed provide it with a

                                                    competitive advantage in the market place.

                                                    Further, Pilgrim’s proposed Protective Order

                                                    allows a party to challenge materials the

                                                    producing party designates as “Confidential”

                                                    or “Attorney’s Eyes Only.” (Ex. A, p. 6, ¶ 8.)

                                                    Thus, if a party contends materials have been

                                                    designated improperly, there is a mechanism




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                                                  for raising an objection. Accordingly, the

                                                  inclusion of an “Attorney’s Eyes Only” paves

                                                  a pathway for more efficient and expedited

                                                  sharing of information while also including a

                                                  safeguard against abuse.

b. Plaintiffs’ proposed protective order is       b. Pilgrim’s proposed Protective Order

unclear whether it affords protection             includes a stand-alone provision

automatically to third-parties who may be         automatically affording protection to third-

subpoenaed in this case to produce                parties to designate their responsive materials

information. (See generally ECF 29-1.)            as “Confidential” or “Attorney’s Eyes Only,”

                                                  if necessary. (Ex. A, p. 10, § 19.) This

                                                  provision expedites discovery from third-

                                                  parties (e.g., bankers, accountants, etc.) and

                                                  avoids discovery disputes as to whether a

                                                  third-party’s information is confidential,

                                                  proprietary, or a trade secret and thus

                                                  deserves special protection.




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c. Plaintiffs’ proposed protective order              c. Consistent with standard practice,

establishes unnecessary obstacles to a party          Pilgrim’s proposed Protective Order

designating deposition testimony as                   automatically affords a party the right to

“Confidential” or “Attorney’s Eyes Only.”             designate deposition testimony as

(ECF 29-1, pp. 6-7, § 5.2.b.) For instance, a         “Confidential” or “Attorney’s Eyes Only”

party must identify on the record before the          within 14 calendar days of receiving the

close of the deposition all protected testimony       deposition transcript. (Ex. A, pp. 3, § 3.)

or “invoke on the record (before the                  This automatic right avoids any claim of

deposition or proceeding is concluded) a right        waiver should a party forget to invoke the

to have up to fourteen (14) days to identify          right before leaving a deposition. And

the specific portions of the testimony as to          starting the time clock for asserting

which protection is sought.” (Id.)                    designations from the receipt of the

                                                      deposition transcript is reasonable because

                                                      court reporters do not necessarily produce a

                                                      deposition transcript within 14 days of a

                                                      deposition.

d. Plaintiffs’ proposed protective order              d. Pilgrim’s proposed Protective Order

allows Plaintiffs or a non-party to “challenge        requires a party to raise objections within 10

a designation of confidentiality at any time,         calendar days after receiving the alleged

including after the litigation has ended.”            improperly designated information. (Ex. A,

(ECF 29-1, p. 8, § 6.l (emphasis added).)             p. 6, § 8.) This provision avoids unnecessary

                                                      costly and time-consuming motion practice

                                                      and satellite litigation, which Plaintiffs’



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                                                      proposed protective order fosters, including

                                                      after the conclusion of this case.

e. In the event the Court does not strike             e. In the event the Court does not strike

Plaintiffs’ jury demand, Plaintiffs’ proposed         Plaintiffs’ jury demand, Pilgrim’s proposed

protective order does not bar a party from            Protective Order expressly bars the parties

notifying the jury that a protective order            from notifying the trier of fact about the

protecting the confidentiality of information         existence of the protective order thereby

has been entered in this case. (See generally         avoiding the threat of confusing or

ECF 29-1.)                                            prejudicing the jurors. (See Ex. A, p. 2, § 1.)

f. Plaintiffs’ proposed protective order              f. Pilgrim’s proposed Protective Order does

permits Plaintiffs to disclose information            not include such a provision since it appears

designated as “Confidential” or “Attorney’s           to be included for the purposes of Plaintiffs’

Eyes Only” to “[c]ounsel representing clients         counsel soliciting business, manufacturing

with present or future cases against the same         additional litigation against Pilgrim’s, or

defendant” after notifying Pilgrim’s of               sharing information with other non-parties,

Plaintiffs’ intent to make such a disclosure to       which is inappropriate.

third-parties. (ECF 29-1, p. 11, ¶ 7.2.k

(emphasis added).)




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g. Plaintiffs’ proposed protective order            g. Pilgrim’s proposed Protective Order does

permits Plaintiffs to disclose information          not include such a provision since it is

designated as “Confidential” or “Attorney’s         inappropriate and gives rise to abuse. (See

Eyes Only” to any regulatory or law                 generally Ex. A.)

enforcement agency or government entity at

any time for any reason and without notice to

Pilgrim’s. (ECF 29-1, p. 11, § 7.3.)

h. Plaintiffs’ proposed protective order            h. Pilgrim’s proposed Protective Order

includes an unduly complicated mechanism            includes a streamlined process for using

for filing documents under seal that have been documents designated “Confidential” or

previously designated as “Confidential” or          “Attorney’s Eyes Only” in motion practice,

“Attorney’s Eyes Only.” (ECF 29-1, pp. 13-          which dovetails with the local rules governing

14, § 10.) Additionally, Plaintiffs’ onerous        the sealing of documents. (Compare Ex. A,

and unnecessary proposed mechanism for              pp. 7-8, § 10 with L.R.Gen.P. 6.01.) The

filing documents under seal is inconsistent         mechanism for filing documents under seal in

with the Court’s local rules for filing             Pilgrim’s proposed Protective Order also

documents under seal. (Compare id. with             proved to be effective and efficient in the

L.R.Gen.P. 6.01.)                                   M&M Poultry case.




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 i. Plaintiffs’ proposed protective order          i. Pilgrim’s proposed Protective Order states

 expires 21 days after the termination of this     that any and all protections afforded

 litigation, at which time any and all             thereunder shall continue in effect until

 protections afforded by the protective order      expressly released by the party furnishing

 will cease. Further, Plaintiffs’ proposed         information designated as “Confidential” or

 protective order does not require the receiving “Attorney’s Eyes Only.” Further, the

 party to destroy or return to the producing       Protective Order requires the receiving party

 party all information designated as               to return or destroy all “Confidential” or

 “Confidential” or “Attorney’s Eyes Only.”         “Attorney’s Eyes Only” information within

 (ECF 29-1, p. 4, § 4.)                            60 days of the final determination of this case.

                                                   (Ex. A, pp. 8-9, §§ 13-14.)


       10.     No party will be prejudiced by the Court entering Pilgrim’s proposed Protective

Order. Indeed, Pilgrim’s proposed Protective Order will fully and effectively protect all the

parties’ confidential and proprietary information and trade secrets (as well as third-parties’

information) and includes mechanisms for preventing over-designations or abuse. Moreover, as

the experience in M&M Poultry, Inc. shows, Pilgrim’s proposed Protective Order works well,

appropriately balances the parties’ needs for privacy while recognizing the public’s interest in an

open court house, and promotes the quick and efficient production of materials during discovery.

       11.     Finally, in light of GAP’s and its attorney’s admitted interests in disseminating

information, Ms. Hitt’s unsupported and reckless public assertions during a podcast about this

lawsuit, Plaintiffs’ allegations pleaded in the Complaint that are contradicted by evidence affixed

to the Motion to Dismiss (compare ECF 1 at ¶¶ 18, 66 & 67 with ECF 19-2, 19-3, & 19-4), and

the untimely filing of Plaintiffs’ claims (see generally ECF 19-5 at pp. 12-13 and 27 at pp. 11-14),

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there is good reason to believe that this case has less to do with the merits, and more to do with

GAP’s desire to gin-up publicity and to disseminate misinformation in an effort to harm Pilgrim’s

because of GAP’s agenda. Thus, the Court should enter Pilgrim’s proposed Protective Order.

          WHEREFORE, for all these reasons, Pilgrim’s requests the Court to enter Pilgrim’s

proposed Protective Order attached hereto as Exhibit A, deny Plaintiffs’ Motion to Enter Protective

Order (ECF 29), and for such other and further relief that Pilgrim’s may be entitled at law and/or

equity.

          Dated: March 28, 2019.

                                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE
        The undersigned certifies that the foregoing document was filed electronically in
compliance with LR Gen P 5.06(b) on March 28, 2019. As such, this document was served on
all counsel of record who are deemed to have consented to electronic service as follows:

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